4:08-cr-03026-RGK-CRZ      Doc # 142    Filed: 02/07/12   Page 1 of 2 - Page ID # 415




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:08CR3026
                                        )
             v.                         )
                                        )             MEMORANDUM
CARLOS LOVERBOY SILVA,                  )              AND ORDER
                                        )
                                        )
                   Defendant.

      The defendant may be entitled to a reduction in sentence due to the retroactive
application of the “Crack Cocaine Amendment” to the federal Sentencing Guidelines
implementing the Fair Sentencing Act of 2010, effective November 1, 2011. The
defendant should understand that I have made no determination whether the defendant
is covered by the Amendment or whether the defendant, if covered by the
Amendment, should be given a reduction. Those questions are yet to be determined.
With the foregoing in mind,

      IT IS ORDERED that:

      1.     Pursuant to General Order No.2011-12, the Federal Public Defender (or
             his nominee) is herewith appointed to represent the defendant. The
             Clerk’s office shall provide the Federal Public Defender and the
             defendant with a copy of this order. Appointed counsel shall promptly
             enter an appearance.

      2.     The probation office has provided the undersigned and counsel of record
             with a “Retroactive Sentencing Worksheet.”

      3.     No later than March 7, 2012 counsel of record shall confer and do one
             of the following:
4:08-cr-03026-RGK-CRZ    Doc # 142    Filed: 02/07/12   Page 2 of 2 - Page ID # 416




           A.    File a stipulation signed by both counsel containing the
                 following provisions: (i) an agreement that the defendant is
                 eligible for a sentence reduction pursuant to 18 U.S.C. §
                 3582(c) and U.S.S.G. § 1B1.10; (ii) an agreement that the
                 defendant may be resentenced without being present and
                 without further notice; and (iii) an agreement regarding the
                 recommended sentence.

           B.    In lieu of the stipulation provided in paragraph A, counsel
                 for the government shall contact my judicial assistant and
                 arrange a telephone conference with the undersigned and
                 counsel for the defendant so that further progression of this
                 case may be scheduled.

     4.    The Clerk shall provide a copy of this Memorandum and Order to
           counsel and to the defendant at his or her last known address.

     February 7, 2012.

                                     BY THE COURT:

                                     Richard G. Kopf
                                     United States District Judge




                                       -2-
